  Case: 1:08-cv-02222 Document #: 132 Filed: 02/15/11 Page 1 of 13 PageID #:2266




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

 INTERNATIONAL TAX ADVISORS,                )
 INC.; and CREATIVE TAX                     )
 STRATEGIES, INC.,                          )
                                            )       No. 08 C 2222
                    Plaintiffs,             )
                                            )       Magistrate Judge Maria
          v.                                )       Valdez
                                            )
 TAX LAW ASSOCIATES, LLC; TAX               )
 LAW ASSOCIATES, INC.; TAX LAW              )
 ADVISORS, INC.; MICHAEL                    )
 SCOTT FUSSELL; and CRYSTAL                 )
 KINDER,                                    )
                                            )
                    Defendants.             )
                                            )

                   MEMORANDUM OPINION AND ORDER

      Plaintiffs International Tax Advisors, Inc. (“ITA”) and Creative Tax

Strategies, Inc. (“CTS”) brought this complaint against Defendants Tax Law

Associates, LLC; Tax Law Associates, Inc.; Tax Law Advisors, Inc.; Michael Scott

Fussell; and Crystal Kinder1 alleging, among other things, that Defendants used

Plaintiffs’ copyrighted and trade secret materials in their own business. The

fourteen-count complaint alleges violations of various federal and state statutes as

well as common law causes of action. This matter is now before the Court on the

following motions: (1) Plaintiffs’ Motion for Summary Judgment [Doc. No. 96]; (2)

Defendants’ Motion for Partial Summary Judgment [Doc. No. 101]; (3) Plaintiffs’


      1
       John Cerami, an original defendant, was dismissed pursuant to Plaintiffs’
oral motion on August 12, 2009.
  Case: 1:08-cv-02222 Document #: 132 Filed: 02/15/11 Page 2 of 13 PageID #:2267




Motion to Strike Defendants’ Counter Motion for Summary Judgment [Doc. No.

108]; (4) Plaintiffs’ Motion to Strike Affidavit of Mitchell B. Katten [Doc. No. 123];

and (5) Plaintiffs’ Motion to Strike Affidavit of Scott N. Gilbert [Doc. No. 125]. For

the reasons that follow, Plaintiffs’ Motion for Summary Judgment is denied,

Defendants’ Motion for Partial Summary Judgment is granted in part, and the

remaining motions are denied as moot.

                                        FACTS

      The following facts material to this decision are undisputed or are deemed

admitted due to a party’s failure to comply with Local Rule 56.1, which this Court

strictly enforces. See Smith v. Lamz, 321 F.3d 680, 683 (7th Cir. 2003); Malec v.

Sanford, 191 F.R.D. 581, 583-84 (N.D. Ill. 2000). Plaintiffs ITA and CTS are

businesses involved in providing tax consulting services. (Pls.’ LR 56.1(a)(3) ¶¶ 1-2.)

Plaintiffs have four registered copyrights related to materials they use to provide

strategic tax planning services (the “Materials”), three with effective dates of

registration of May 5, 2005, and one with an effective date of March 31, 2008.

(Defs.’ LR 56.1(a)(3) ¶¶ 28-30.) The Materials, taken together, constitute a “process”

or “method” for providing Plaintiffs’ clients with tax consulting services that will

assist their clients in reducing their tax exposure. (Id. ¶ 34.) The ‘186 copyright

describes the goal as reducing the client’s taxes as much as legally possible. (Id. ¶

39.) The ‘439 copyright states that the client will realize tax savings by following

Plaintiffs’ consulting advice. (Id. ¶ 40.) Plaintiffs’ ‘438 and ‘440 copyrights

graphically chart the client’s projected tax savings from following Plaintiffs’

                                            2
  Case: 1:08-cv-02222 Document #: 132 Filed: 02/15/11 Page 3 of 13 PageID #:2268




consulting advice. (Id. ¶ 41.) The ‘438, ‘439, and ‘440 copyrights state that the

advice is based on existing law. (Id. ¶¶ 42-43.) Plaintiffs are not in the business of

selling the Materials; they sell strategic tax planning services and consulting advice

on how to reduce tax exposure. (Id. ¶ 38.)

      The corporate defendants are also in the business of providing strategic tax

plans to individuals and corporations. (Pls.’ LR 56.1(a)(3) ¶ 18; Defs.’ LR 56.1(a)(3)

¶ 23.) Defendant Fussell, a CPA and licensed attorney, was employed by ITA from

June 2002 to October 2003. (Pls.’ LR 56.1(a)(3) ¶¶ 6, 11; Defs.’ LR 56.1(a)(3) ¶¶ 1.)

Fussell is the sole owner of all three corporate defendants, which were created or

incorporated in 2004. (Pls.’ LR 56.1(a)(3) ¶¶ 3-5; Defs.’ LR 56.1(a)(3) ¶¶ 2, 5-7, 22.)

Immediately upon leaving Plaintiff’s employ, Fussell began using the Materials in

order to prepare strategic tax plans for his own clients. (Pls.’ LR 56.1(a)(3) ¶¶ 19,

39; Defs.’ LR 56.1(a)(3) ¶ 24.)

      Defendant Kinder was employed by ITA and then CTS from June 2002 to

April 2008. (Pls.’ LR 56.1(a)(3) ¶ 7; Defs.’ LR 56.1(a)(3) ¶ 3.) Around July 2005,

while Kinder was employed by Plaintiffs, she was hired by Fussell, who had already

left ITA. (Pls.’ LR 56.1(a)(3) ¶¶ 13, 20; Defs.’ LR 56.1(a)(3) ¶ 4.) During her

employment with Fussell, Kinder also used the Materials in preparing strategic tax

plans. (Pls.’ LR 56.1(a)(3) ¶¶ 20-21, 37.)

      Plaintiffs’ complaint alleges the following causes of action: Count I -

Infringement of a Federal Copyright, 17 U.S.C. § 106(1), (2), and (3); Count II -

Fraud; Count III - Conversion; Count IV - Breach of Fiduciary Duty; Count V -

                                             3
     Case: 1:08-cv-02222 Document #: 132 Filed: 02/15/11 Page 4 of 13 PageID #:2269




Violation of Illinois Trade Secret Act, 765 Ill. Comp. Stat. § 1065/1 et seq.; Count VI

- Violation of the Consumer Fraud and Deceptive Trade Practices Act,2 815 Ill.

Comp. Stat. § 510/1 et seq.; Count VII - Violation of Federal Deceptive Trade

Practices Act,3 15 U.S.C. § 45; Count VIII - Accounting; Count IX - Tortious

Interference with Contract; Count X - Tortious Interference with Prospective

Economic Gain; Count XI - Unjust Enrichment; Count XII - Civil RICO Substance

and Conspiracy; Count XIII - Conspiracy; and Count XIV - Breach of Contract (CTS

v. Kinder). The parties have filed cross-motions for summary judgment as well as

related motions to strike.

                                        DISCUSSION

I.       Summary Judgment Standard

         Summary judgment is appropriate where “the pleadings, depositions,

answers to interrogatories, and admissions on file, together with the affidavits, if

any, show that there is no genuine issue as to any material fact and that the

moving party is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(c);see

also Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986) (holding that summary

judgment is proper “against a party who fails to make a showing sufficient to

establish the existence of an element essential to that party’s case, and on which



         2
          The title of the cited statute should be “Uniform Deceptive Trade Practices Act.” See
815 Ill. Comp. Stat. § 510/1 et seq.
         3
       The title of the cited statute is “Federal Trade Commission Act.” See 15 U.S.C. § 45.
The Court’s research revealed no statutes entitled “Federal Deceptive Trade Practices Act.”

                                                4
  Case: 1:08-cv-02222 Document #: 132 Filed: 02/15/11 Page 5 of 13 PageID #:2270




that party will bear the burden of proof at trial”). The Court must draw all

reasonable inferences in favor of the nonmovant. Bennington v. Caterpillar Inc., 275

F.3d 654, 658 (7th Cir. 2001).

      However, once the movant has carried its burden under Rule 56(c), “its

opponent must do more than simply show that there is some metaphysical doubt as

to the material facts.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.

574, 586 (1986). The party opposing summary judgment must offer admissible

evidence in support of his version of events, and hearsay evidence does not create a

genuine issue of material fact. McKenzie v. Ill. Dep’t of Transp., 92 F.3d 473, 484

(7th Cir. 1996); see Larimer v. Dayton Hudson Corp., 137 F.3d 497, 500 (7th Cir.

1998) (“‘If the non-moving party bears the burden of proof on an issue, . . . that

party may not rest on the pleadings and must instead show that there is a genuine

issue of material fact.’”) (citation omitted). “The mere existence of an alleged factual

dispute is not sufficient to defeat a summary judgment motion. . . . The nonmovant

will successfully oppose summary judgment only when it presents ‘definite,

competent evidence to rebut the motion.’” Vukadinovich v. Bd. of Sch. Trs. of N.

Newton Sch. Corp., 278 F.3d 693, 699 (7th Cir. 2002) (citations omitted).

      “In considering a motion for summary judgment, this court is not required to

scour the record in search of evidence to defeat the motion; the nonmoving party

must identify with reasonable particularity the evidence upon which the party

relies.” Pleniceanu v. Brown Printing Co., No. 05 C 5675, 2007 WL 781726, at *7



                                           5
  Case: 1:08-cv-02222 Document #: 132 Filed: 02/15/11 Page 6 of 13 PageID #:2271




(N.D. Ill. Mar. 12, 2007) (citing Johnson v. Cambridge Indus., Inc., 325 F.3d 892,

898 (7th Cir. 2003)); see also Knapp v. County of Jefferson, No. 06 CV 4028, 2007

WL 496396, at *1 (S.D. Ill. Feb. 13, 2007) (denying summary judgment where

defendant’s brief “contains no facts section and . . . fail[s] to point to the relevant

portions of the record to establish the facts of this case”). Finally, the Court is “‘not

required to draw every conceivable inference from the record,”’ McCoy v. Harrison,

341 F.3d 600, 604 (7th Cir. 2003) (citation omitted).

II.    Plaintiffs’ Motion for Summary Judgment

       Plaintiffs’ motion seeks summary judgment on all fourteen counts of the

complaint, but it discusses the elements of only Count I, copyright infringement. As

the movants, Plaintiffs are obligated to set forth all elements of their claims and

demonstrate that there is no disputed issue of fact as to any of them. Plaintiffs,

however, have failed to disclose the elements of thirteen causes of action, let alone

point to the uncontroverted evidence in support of each element.

       Plaintiffs’ motion does lay out the elements of a copyright infringement

claim, but it does not cite to specific paragraphs of the statement of facts that

demonstrate there is no triable issue of fact as to this claim. Instead, Plaintiffs




                                             6
  Case: 1:08-cv-02222 Document #: 132 Filed: 02/15/11 Page 7 of 13 PageID #:2272




improperly cite directly to evidentiary exhibits.4 See Daoust v. Abbott Labs., No. 05

C 6018, 2006 WL 2711844, at *2 (N.D. Ill. Sept. 19, 2006) (“[C]itations in the

[summary judgment] memorandum’s statement of facts should be to the 56.1(a) or

(b) statement only.”). Plaintiffs’ memorandum not only fails to cite to the specific

numbered paragraphs in the statement of facts, it does not even cite to the

summary judgment exhibits by number. Rather, they are merely described by their

title, which would require the Court to first refer to the exhibit index, locate the

exhibit by the description given in the memorandum, then find the cited

information within the exhibit. Additional investigation would be required to

determine whether the stated facts are undisputed. See Daoust, 2006 WL 2711844,

at *4 (“Citing directly to the record in the memorandum . . . rather than citing to its

56.1(a)(3) statement, negates the purpose of the summary judgment exercise. . . .

The court should be spared from engaging in this type of guesswork. The aim of a

56.1(a)(3) statement is to organize the arguments, give the [nonmovant] an

opportunity to respond, and economize court resources by lessening the need to

‘scour the record.’”). Because Plaintiffs’ motion does not demonstrate that there are

no material factual disputes, it amounts to no more than a recitation of a legal

standard, with citations to statute and case law, and “[a] legal standard, even if

correct, is useless to us unless applied to the facts of the case, particularly if it is a


       4
          Notably, while the copyright registrations are included as exhibits to the motion, neither
the existence of the registrations nor a description of the copyrighted materials is included in
Plaintiffs’ Local Rule 56.1 statement of facts. These issues are only in the record because they
were included in Defendants’ statement.

                                                 7
  Case: 1:08-cv-02222 Document #: 132 Filed: 02/15/11 Page 8 of 13 PageID #:2273




broad legal standard.” Malec v. Sanford, 191 F.R.D. 581, 586 (N.D. Ill. 2000).

Plaintiffs’ motion for summary judgment is therefore denied.

II.   Defendants’ Motion for Summary Judgment

      Defendants argue that summary judgment should be granted as to all of

Plaintiffs’ federal claims (copyright infringement, violation of the FTC Act, and civil

RICO), and that most of Plaintiffs’ state claims are preempted. The Court will

address each of the federal claims in turn.

      A.     Count I - Infringement of a Federal Copyright

      Defendants argue that Plaintiffs’ claim of copyright infringement should be

dismissed because the copyrights are not valid, and Plaintiffs cannot establish

damages. To establish copyright infringement, a plaintiff must prove: “‘(1)

ownership of a valid copyright; and (2) copying of constituent elements of the work

that are original.’” Janky v. Lake County Convention & Visitors Bureau, 576 F.3d

356, 361 (7th Cir. 2009) (quoting Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S.

340, 361 (1991)). Defendants contend that the Materials are not copyrightable

because: (1) they merely describe an uncopyrightable system or process for advising

customers on methods for reducing their tax exposure; and (2) they lack the

originality required for copyright protection.

      There is no disputed issue of fact that Plaintiffs are primarily in the business

of selling strategic tax planning services to their clients, and their registered

copyrights constitute a process or method for providing their clients with tax

consulting services. Plaintiffs do not sell the copyrighted documents. Defendants

                                           8
  Case: 1:08-cv-02222 Document #: 132 Filed: 02/15/11 Page 9 of 13 PageID #:2274




further argue that the materials are unoriginal compilations of facts, which are not

copyrightable. See 17 U.S.C. § 103 (“The copyright in a compilation or derivative

work extends only to the material contributed by the author of such work, as

distinguished from the preexisting material.”); see Feist, 499 U.S. at 350 (“Facts,

whether alone or as part of a compilation, are not original and therefore may not be

copyrighted.”). Furthermore, while “[a] factual compilation is eligible for copyright if

it features an original selection or arrangement of facts,” the copyright extends only

to the particular arrangement, not to the facts themselves. Feist, 499 U.S. at 350-

51. Defendants contend that the ‘186 copyright is merely a compilation of the law;5

the ‘439 copyright states that the process described is based on existing law; and the

‘438 and ‘440 copyrights expressly state that the advice being sold to clients is based

on existing law. Because Plaintiffs consistently maintain to their clients that their

materials are accurate renditions of fact and current law, they cannot

simultaneously claim that the documents reflect creativity and originality.

       Plaintiffs respond that the Plaintiffs’ Strategic Tax Plan is an original design;

the materials were accepted by the copyright office; and Defendants have admitted

that they were aware the materials were used in commerce, that Plaintiffs had an

unconditional right to maintain control of the materials, and that all the materials




       5
         Defendants also point out that the certificate of registration incorrectly states that the
author created the “entire work.”

                                                   9
 Case: 1:08-cv-02222 Document #: 132 Filed: 02/15/11 Page 10 of 13 PageID #:2275




“constitute formulas, programs, data, methods, techniques, and processes” which

are Plaintiffs’ trade secrets.6 (Pls.’ Answer to Defs.’ Mem. of Law at 9.)

       While the certificates of registration are prima facie proof of copyright and

thus give rise to a rebuttable presumption of validity, that presumption can be

overcome. See Team Play, Inc. v. Boyer, 391 F. Supp. 2d 695, 699 (N.D. Ill. 2005).

Plaintiffs cannot merely stand on the registrations without demonstrating disputed

issues of fact in opposition to the arguments and undisputed facts set forth in

Defendants’ summary judgment brief. Plaintiffs’ response, however, contains no

citations to the Local Rule 56.1 statements. As a result, Defendants’ arguments

stand largely unrebutted. See Montgomery v. Am. Airlines, Inc., 626 F.3d 382, 389

(7th Cir. 2010) (“Before [the nonmovant] can benefit from a favorable view of

evidence, he must first actually place evidence before the courts.”). Moreover,

Plaintiffs’ contention that the materials constitute formulas, methods, techniques,

and the like tends to support Defendants’ argument that the materials are not

copyrightable. See 17 U.S.C. § 102(b) (“In no case does copyright protection for an

original work of authorship extend to any idea, procedure, process, system, method

of operation, concept, principle, or discovery, regardless of the form in which it is



       6
          Plaintiffs also argue that the defense of invalidity is waived because it was not pleaded
as an affirmative defense. The Court need not examine the issue of waiver, as copyright
invalidity is a denial, not an affirmative defense. See Energetec Sys., Inc. v. Kayser, No. No. 84 C
10611, 1986 WL 8058, at *1 (N.D. Ill. July 17, 1986) (striking affirmative defense of copyright
invalidity as improperly pleaded); see also Bobbitt v. Victorian House, Inc., 532 F. Supp. 734,
736 (N.D. Ill. 1982) (“[A]n affirmative defense [is] something that generally admits the matters
in a complaint but suggests some other reason why there is no right of recovery.”).

                                                10
 Case: 1:08-cv-02222 Document #: 132 Filed: 02/15/11 Page 11 of 13 PageID #:2276




described, explained, illustrated, or embodied in such work.”); see Feist, 499 U.S. at

344-45. Because Plaintiffs have not demonstrated a disputed issue of material fact

in relation to Count I, Defendants’ motion for summary judgment is granted.

      B.     Count VII - Violation of Federal Deceptive Trade Practices Act, 15
             U.S.C. § 45

      Defendants argue that there is no private right of action under the Federal

Trade Commission Act (“FTC Act”) and that remedial powers are vested exclusively

with the Federal Trade Commission. The Court agrees. See 15 U.S.C. § 45(m)(1)(A);

Atl. Ref. Co. v. F.T.C., 381 U.S. 357, 367 (1965); see also United States v. Philip

Morris Inc., 263 F. Supp. 2d 72, 78 (D.D.C. 2003) (“The FTC Act is enforced

exclusively by the FTC; there is no private right of action under the statute.”).

Therefore, Count VII must be dismissed.

      C.     Count XII - Civil RICO Substance and Conspiracy

      To prove a civil claim under the Racketeer Influenced and Corrupt

Organizations (“RICO”) Act, 18 U.S.C. § 1964, a plaintiff must show: “‘(1) conduct

(2) of an enterprise (3) through a pattern (4) of racketeering activity.’” Midwest

Grinding Co. v. Spitz, 976 F.2d 1016, 1019 (7th Cir. 1992) (quoting Sedima,

S.P.R.L. v. Imrex Co., 473 U.S. 479, 491-93 (1985)). “A pattern of racketeering

activity consists of at least two predicate acts of racketeering committed within a

ten-year period. . . . Predicate acts are acts indictable under a specified list of

criminal laws, . . . including mail fraud . . . and wire fraud . . . .” Midwest Grinding,

976 F.2d at 1019. Defendants claim that Plaintiffs’ civil RICO claim must be


                                            11
 Case: 1:08-cv-02222 Document #: 132 Filed: 02/15/11 Page 12 of 13 PageID #:2277




dismissed because there is no evidence of any predicate acts, and the RICO

enterprise alleged by Plaintiffs is simply Defendants’ business, which does not

constitute an enterprise under the statute.

      Plaintiffs respond, without citation, that Defendants’ alleged violation of the

FTC Act could be used as a predicate act for purposes of RICO. Setting aside the

fact that this argument speaks of only one predicate act, not the required two, this

alleged predicate act is not one enumerated in the RICO statute. See 18 U.S.C. §

1961(1) (defining “racketeering activity” as including numerous indictable acts,

such as bribery, mail fraud, wire fraud, and forgery). Moreover, the “enterprise”

alleged in this case was the individual defendants’ own (co-defendant) business, and

“the court has consistently insisted that the RICO defendant or ‘person’ be separate

and distinct from the enterprise.” Stachon v. United Consumers Club, Inc., 229 F.3d

673, 676 n.3 (7th Cir. 2000) (“‘A firm and its employees, or a parent and its

subsidiaries, are not an enterprise separate from the firm itself.’”) (citation

omitted). Plaintiffs offer no contrary argument that a separate enterprise existed in

this case. Summary judgment is therefore granted as to Count XII.

                                   CONCLUSION

      For the foregoing reasons, Plaintiffs’ Motion for Summary Judgment [Doc.

No. 96] is DENIED. Defendants’ Motion for Summary Judgment [Doc. No. 101] is

GRANTED IN PART as to Counts I, VII, and XII, and the Court declines to exercise

supplemental jurisdiction over the remaining state law claims contained in Counts

II-VI, VIII-XI, and XIII-XIV. Because the Court’s ruling was based on issues other

                                           12
 Case: 1:08-cv-02222 Document #: 132 Filed: 02/15/11 Page 13 of 13 PageID #:2278




than those raised in Plaintiffs’ Motion to Strike Defendants’ Counter Motion for

Summary Judgment [Doc. No. 108], Plaintiffs’ Motion to Strike Affidavit of Mitchell

B. Katten [Doc. No. 123], and Plaintiffs’ Motion to Strike Affidavit of Scott N.

Gilbert [Doc. No. 125], those motions are DENIED AS MOOT.




SO ORDERED.                                    ENTERED:


      February 15, 2011
DATE: ____________________                     ___________________________
                                               HON. MARIA VALDEZ
                                               United States Magistrate Judge




                                          13
